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 5
     Attorney for Defendant, Michael Ho
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 8
                       IN THE UNITED STATES DISTRICT COURT FOR THE
 9
                                EASTERN DISTRICT OF CALIFORNIA
10

11                                                  )
     UNITED STATES OF AMERICA,                      ) Case No.: 1:09-cr-00369 AWI
12                                                  )
                   Plaintiff,                       )
13                                                  ) STIPULATION REGARDING
            vs.                                     ) SENTENCING
14                                                  )
     MICHAEL HO,                                    )
15                                                  )
                   Defendant                        )
16

17          IT IS HEREBY STIPULATED by and between Jeffrey T. Hammerschmidt, attorney for
18   defendant MICHAEL HO, and Kathleen Servatius, Assistant United States Attorney, that the
19   sentencing be continued from June 27, 2011, at 11:00 a.m., to January 9, 2012, at 11:00 a.m.
20

21   Dated: June 7, 2011                         /s/ Kathleen Servatius
                                                 Kathleen Servatius
22                                               Assistant U.S. Attorney
23

24
     Dated: June 7, 2011                         /s/ Jeffrey T. Hammerschmidt
25                                               Jeffrey T. Hammerschmidt
                                                 Attorney for Defendant,
26
                                                 Michael Ho
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                             Case 1:09-cr-00369-AWI Document 89 Filed 06/09/11 Page 2 of 2



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                                      IN THE UNITED STATES DISTRICT COURT FOR THE
 9
                                               EASTERN DISTRICT OF CALIFORNIA
10

11                                                              )
     UNITED STATES OF AMERICA,                                  ) Case No.: 1:09-cr-00369 AWI
12                                                              )
                                  Plaintiff,                    )
13                                                              )
                           vs.                                  )
14                                                              )
     MICHAEL HO,                                                )
15                                                              )
                                  Defendant                     )
16

17
                                                             ORDER
18
                           IT IS ORDERED that the June 27, 2011 sentencing date be vacated.
19
                           IT IS ORDERED that the sentencing will now occur on January 9, 2012 at 11:00 a.m.
20

21

22
     IT IS SO ORDERED.
23
     Dated: June 8, 2011
24                                                     CHIEF UNITED STATES DISTRICT JUDGE
     DEAC_Signature-END:




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     0m8i788
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